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Attorneys for Defendants
HAWAIIAN ELECTRIC COMPANY, INC.,
MAUI ELECTRIC COMPANY, LIMITED,
HAWAII ELECTRIC LIGHT COMPANY, INC.,
and HAWAIIAN ELECTRIC INDUSTRIES, INC.

                IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF HAWAI‘I

COUNTY OF MAUI,                          Case No. 1:23-cv-565

            Plaintiff,                   DEFENDANTS MAUI ELECTRIC
                                         COMPANY, LIMITED; HAWAII
      vs.                                ELECTRIC LIGHT COMPANY,
                                         INC.; HAWAIIAN ELECTRIC
MAUI ELECTRIC COMPANY, LIMITED           COMPANY, INC.; AND
et al.,                                  HAWAIIAN ELECTRIC
                                         INDUSTRIES, INC.’S
            Defendants.
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                                               CORPORATE DISCLOSURE
                                               STATEMENT

   DEFENDANTS MAUI ELECTRIC COMPANY, LIMITED; HAWAII
    ELECTRIC LIGHT COMPANY, INC.; HAWAIIAN ELECTRIC
  COMPANY, INC.; AND HAWAIIAN ELECTRIC INDUSTRIES, INC.’S
            CORPORATE DISCLOSURE STATEMENT

             Pursuant to Rule 7.1 of the Federal Rules of Civil Procedure,

Defendants Maui Electric Company, Limited; Hawaii Electric Light Company,

Inc.; Hawaiian Electric Company, Inc.; and Hawaiian Electric Industries, Inc.

hereby disclose as follows:

             Maui Electric Company, Limited is a domestic corporation that is

registered to do business in the State of Hawai‘i. Maui Electric Company, Limited

is wholly owned by Hawaiian Electric Company, Inc.

             Hawaii Electric Light Company, Inc. is a domestic corporation that is

registered to do business in the State of Hawai‘i. Hawaii Electric Light Company,

Inc. is wholly owned by Hawaiian Electric Company, Inc.

             Hawaiian Electric, Inc. is a domestic corporation that is registered to

do business in the State of Hawai‘i. Hawaiian Electric, Inc. is wholly owned by

Hawaiian Electric Industries, Inc.

             Hawaiian Electric Industries, Inc. is a domestic corporation that is

registered to do business in the State of Hawai‘i. Hawaiian Electric Industries, Inc.




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is a publicly-traded company. No publicly held corporation owns 10% or more of

Hawaiian Electric Industries, Inc.’s stock.

             The undersigned hereby certifies that, as of this date, other than the

named parties, there is no interest to report under Rule 7.1 of the Federal Rules of

Civil Procedure.

             DATED: Honolulu, Hawai‘i, December 5, 2023.

                                 /s/ Joachim P. Cox
                                 JOACHIM P. COX
                                 RANDALL C. WHATTOFF
                                 Attorneys for Defendants
                                 HAWAIIAN ELECTRIC COMPANY, INC.,
                                 MAUI ELECTRIC COMPANY, LIMITED,
                                 HAWAII ELECTRIC LIGHT COMPANY, INC.,
                                 and HAWAIIAN ELECTRIC INDUSTRIES, INC.




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